 Case 4:20-cv-00283-O Document 102 Filed 11/30/22               Page 1 of 1 PageID 1979



                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 BRAIDWOOD MANAGEMENT INC. et                §
 al.,                                        §
                                             §
        Plaintiffs,                          §
                                             §         Civil Action No. 4:20-cv-00283-O
 v.                                          §
                                             §
 XAVIER BECERRA et al.,                      §
                                             §
        Defendants.

                      SECOND ORDER ON SUPPLEMENTAL BRIEFING

       Before the Court is Defendants’ Consent Motion to Amend Briefing Schedule (ECF No.

101), filed November 29, 2022. Having reviewed the motion and finding good cause to amend,

and noting the agreement of the parties, the Court ORDERS the following amended briefing

schedule:

                          Event                                        Deadline
 Plaintiff’s Combined Supplemental Reply & Response       January 6, 2023
 to Supplemental Cross-Motion for Summary Judgment
 Defendants’ Reply in Support of Supplemental Cross-      January 27, 2023
 Motion for Summary Judgment

       SO ORDERED this 30th day of November, 2022.


                                           _____________________________________
                                           Reed O’Connor
                                           UNITED STATES DISTRICT JUDGE
